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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     January 11, 2021 Application granted. The sentence is
                                                                      adjourned to July 16, 2021 at 11:30
By Email and ECF                                                      a.m.
The Honorable Ronnie Abrams
United States District Judge,
                                                                                   SO ORDERED.
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square                                                                    _______________________
New York, New York 10007                                                           Ronnie Abrams, U.S.D.J.
                                                                                   January 11, 2021
               Re:    United States v. Hugh Dunkerley, 16 Cr. 371 (RA)

Dear Judge Abrams:

        The Government writes, with the consent of defendant Hugh Dunkerley, to respectfully
request an adjournment of the January 15, 2021 sentencing control date in this case. The parties
respectfully request that the Court adjourn the sentencing control date by approximately six months.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney

                                                By: /s/ Negar Tekeei                  .
                                                    Rebecca Mermelstein
                                                    Negar Tekeei
                                                    Assistant United States Attorneys
                                                    (212) 637-2360/2482

cc:    Avraham C. Moskowitz, Esq. (via ECF)
